        Case 1:14-cv-00465-TWT Document 7 Filed 04/11/14 Page 1 of 11




                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

EAGLES LANDING DAYCARE &                       )
LEARNING CENTER,                               )
                                               )
             Plaintiff,                        )
                                               )     CIVIL ACTION FILE
 v.                                            )
                                               )     NO. 1:14-CV-00465-CAP
SPARTA INSURANCE COMPANY,                      )
                                               )
             Defendant.                        )

      DEFENDANT SPARTA INSURANCE COMPANY’S ANSWER AND
      AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT FOR
               DAMAGES AND FOR TRIAL BY JURY

       COMES NOW SPARTA INSURANCE COMPANY, Defendant in the

above-styled action, and files this, its Answer and Affirmative Defenses to

Plaintiffs’ Complaint for Damages as follows:

                                 FIRST DEFENSE

       Plaintiff has failed to state a claim upon which relief can be granted.

                                SECOND DEFENSE

       Defendant asserts the affirmative defense of accord and satisfaction.

                                 THIRD DEFENSE

       Defendant pleads the affirmative defense of payment.
        Case 1:14-cv-00465-TWT Document 7 Filed 04/11/14 Page 2 of 11




                               FOURTH DEFENSE

      Plaintiff has failed to comply with the conditions of the insurance policy at

issue and, therefore, payment under the policy is barred.

                                FIFTH DEFENSE

      Defendant has breached no duty owed to Plaintiff.

                                SIXTH DEFENSE

      Defendant has acted reasonably, in good faith, and with skill, prudence and

diligence exercised by others in the industry.

                              SEVENTH DEFENSE

      Plaintiff’s claims are barred, in whole or in part, because Defendant’s

activities were reasonable and in accordance with the applicable standard of care.

                               EIGHTH DEFENSE

      Plaintiff has failed to comply with the conditions precedent to filing a suit

under the terms of its insurance policy and, therefore, the claims should be

dismissed.

                                NINTH DEFENSE

      Defendant responds to the numbered paragraphs in Plaintiff’s Complaint for

Damages as follows:




                                         -2-
        Case 1:14-cv-00465-TWT Document 7 Filed 04/11/14 Page 3 of 11




                         JURISDICTION AND VENUE

                                         1.

      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 1 of Plaintiff’s Complaint for

Damages and, therefore, can neither admit nor deny same.

                                         2.

      Defendant admits the allegations contained in Paragraph 2 of Plaintiff’s

Complaint for Damages.

                                         3.

      Defendant admits the allegations contained in Paragraph 3 of Plaintiff’s

Complaint for Damages.        However, while Defendant admits the amount in

controversy exceeds $75,000, Defendant denies the “value” of this case exceeds

that amount.

                                         4.

      Defendant denies as pled the allegations contained in Paragraph 4 of

Plaintiff’s Complaint for Damages.




                                        -3-
        Case 1:14-cv-00465-TWT Document 7 Filed 04/11/14 Page 4 of 11




                    FACTS COMMON TO ALL COUNTS

                                        5.

      Defendant admits the allegations contained in Paragraph 5 of Plaintiff’s

Complaint for Damages.

                                        6.

      Defendant admits the allegations contained in Paragraph 6 of Plaintiff’s

Complaint for Damages.

                                        7.

      Defendant admits the Policy provided insurance coverage for hail and storm

related damages on the Insured Premises and loss of community income and extra

expense as alleged in Paragraph 2 of Plaintiff’s Complaint for Damages.

Defendant also admits the Policy provided for such other customary coverage as

specifically set forth in the Policy. Defendant denies that with respect to the

building, the coverage at all times was and is afforded limits were on a

Replacement Cost basis. Defendant further states the Policy provided benefits on

an actual cash value basis, until such time as replacement of the property is made,

at which time Replacement Cost Benefits are available, pursuant to the terms and

conditions of the Policy. Defendant admits Plaintiff timely paid the required




                                       -4-
       Case 1:14-cv-00465-TWT Document 7 Filed 04/11/14 Page 5 of 11




premiums due. Any other allegations contained within Paragraph 7 of Plaintiff’s

Complaint for Damages is hereby denied.

                                       8.

      Defendant admits some damage was caused by the aforementioned storm,

but disputes the extent of the aforementioned damage and coverage therefore.

                                       9.

      Defendant admits the allegations contained in Paragraph 9 of Plaintiff’s

Complaint for Damages.

                                       10.

      Defendant denies the allegations contained in Paragraph 10 of Plaintiff’s

Complaint for Damages.

                                       11.

      Defendant denies the allegations contained in Paragraph 11 of Plaintiff’s

Complaint for Damages.

                                       12.

      Defendant denies the allegations contained in Paragraph 12 of Plaintiff’s

Complaint for Damages.




                                       -5-
        Case 1:14-cv-00465-TWT Document 7 Filed 04/11/14 Page 6 of 11




                                        13.

      Defendant denies the allegations contained in Paragraph 13 of Plaintiff’s

Complaint for Damages.

                               COUNT I.
                    COUNT I. BREACH OF CONTRACT

                                        14.

      Defendants hereby incorporate, as if fully set forth herein, their responses to

Paragraphs 1 through 13 in response to Paragraph 14 of Plaintiff’s Complaint for

Damages.

                                        15.

      Defendant admits the allegations contained in Paragraph 15 of Plaintiff’s

Complaint for Damages.

                                        16.

      Defendant denies the allegations contained in Paragraph 16, including

subparagraphs a. and b. of Plaintiff’s Complaint for Damages.

                                        17.

      Defendant denies the allegations contained in Paragraph 17 of Plaintiff’s

Complaint for Damages.




                                        -6-
       Case 1:14-cv-00465-TWT Document 7 Filed 04/11/14 Page 7 of 11




                                     COUNT II.
                           BAD FAITH FAILURE TO PAY

                                          18.

      Defendants hereby incorporate, as if fully set forth herein, their responses to

Paragraphs 1 through 17 in response to Paragraph 18 of Plaintiff’s Complaint for

Damages.

                                          19.

      Defendant denies the allegations contained in Paragraph 19 of Plaintiff’s

Complaint for Damages.

                                          20.

      Defendant denies the allegations contained in Paragraph 20 of Plaintiff’s

Complaint for Damages.

      Any allegations of Plaintiff’s Complaint for Damages not heretofore

specifically responded to by Defendant are hereby denied. Defendant further

denies that Plaintiff is entitled to recover from Defendant in any sum or manner

whatsoever.

      WHEREFORE, having fully answered Plaintiff’s Complaint for Damages,

Defendant SPARTA INSURANCE COMPANY prays as follows:

      (a) That it be discharged without liability to Plaintiff;

      (b) That it have a trial by a jury to all issues properly triable by a jury;


                                          -7-
          Case 1:14-cv-00465-TWT Document 7 Filed 04/11/14 Page 8 of 11




      (c) That costs be assessed against Plaintiff; and

      (d) That it have such other and further relief as the Court deems just and

proper.



      This 11th day of April 2014.

                                Respectfully submitted,

                                SWIFT, CURRIE, McGHEE & HIERS, LLP

                                By:   _/s/ Pamela N. Lee    ______________
                                      Pamela Newsom Lee
                                      Georgia State Bar No. 198981

                                      Attorney for Defendant
                                      SPARTA INSURANCE COMPANY

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                                        -8-
        Case 1:14-cv-00465-TWT Document 7 Filed 04/11/14 Page 9 of 11




                      CERTIFICATE OF COMPLIANCE

      Counsel hereby certifies that this document has been prepared with one of

the font and point selections approved by the Court pursuant to L.R. 5.1(C) of the

Northern District of Georgia, specifically, 14 point, Times New Roman font.


      This 11th day of April 2014.

                                SWIFT, CURRIE, McGHEE & HIERS, LLP

                                By:   _/s/ Pamela N. Lee    ______________
                                      Pamela Newsom Lee
                                      Georgia State Bar No. 198981

                                      Attorney for Defendant
                                      SPARTA INSURANCE COMPANY
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                                        -9-
       Case 1:14-cv-00465-TWT Document 7 Filed 04/11/14 Page 10 of 11




                         CERTIFICATE OF SERVICE

      I hereby certify that that I have this day electronically filed Defendant

Sparta Insurance Company’s Answer and Affirmative Defenses to Plaintiff’s

Complaint for Damages and for Trial by Jury with the Clerk of Court using the

CM/ECF system and served upon all counsel of record, by electronic filing and/or

United States mail, postage prepaid, and properly addressed as follows:

                             Jeffrey D. Diamond
                       Law Offices of Jeffrey D. Diamond
                       3330 Cumberland Blvd., Suite 600
                            Atlanta, Georgia 30339

                                 Bill L. Voss
                               Scott G. Hunziker
                              The Voss Law Firm
                             The Voss Law Center
                              26619 Interstate 45
                          The Woodlands, Texas 77380


      This 11th day of April 2014.


                               SWIFT, CURRIE, McGHEE & HIERS, LLP

                               By:    _/s/ Pamela N. Lee    ______________
                                      Pamela Newsom Lee
                                      Georgia State Bar No. 198981

                                      Attorney for Defendant
                                      SPARTA INSURANCE COMPANY



                                       - 10 -
          Case 1:14-cv-00465-TWT Document 7 Filed 04/11/14 Page 11 of 11




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                                      - 11 -
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